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     TAMMIE LEE ASANTI fka TAMMIE LEE HEUMANN
 6

 7

 8                          UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10 DOUGLAS C. HEUMANN, an individual;               Case No. 19cv1119 W MSB
   DOUGLAS C. HEUMANN TRUSTEE
11 OF THE DOUGLAS C. HEUMANN                        ANSWER TO COMPLAINT AND
   REVOCABLE LIVING TRUST DATED                     COUNTERCLAIM
12 8/1/2007; and NORMA ESCANDON
   HEUMANN, an individual,
13
               Plaintiff,
14 v.

15 TAMMIE LEE ASANTI (fka TAMMIE
   LEE HEUMANN) an individual; and
16 DOES 1-20;

17             Defendants.
18 TAMMIE LEE ASANTI (fka TAMMIE
     LEE HEUMANN) an individual,
19
               Counter-claimant,
20 v.

21 DOUGLAS C. HEUMANN, an individual;
   DOUGLAS C. HEUMANN TRUSTEE
22 OF THE DOUGLAS C. HEUMANN
   REVOCABLE LIVING TRUST DATED
23 8/1/2007; and NORMA ESCANDON
   HEUMANN, an individual ROES 1-10,
24 inclusive

25             Counter-defendants.
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                                                1
                               ANSWER TO COMPLAINT AND COUNTERCLAIM
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 1                              ANSWER TO COMPLAINT
 2        Defendant TAMMIE LEE ASANTI fka TAMMIE LEE HEUMANN
 3 (“Defendant”), for herself alone, answering the complaint on file herein, admits, denies

 4 and alleges as follows:

 5                                         PARTIES
 6        1.     Answering paragraph 1 thereof, admits the allegations contained in said
 7 paragraph.

 8        2.     Answering paragraph 2 thereof, denies for want of information and belief
 9 each and every allegation contained in said paragraph.

10        3.     Answering paragraphs 3, 4 and 5 thereof, admits the allegations contained
11 in said paragraphs.

12        4.     Answering paragraphs 6 and 7 thereof, denies for want of information and
13 belief each and every allegation contained in said paragraphs.

14                             JURISDICTION AND VENUE
15        5.     Answering paragraph 8 thereof, admits that the Court has subject matter
16 jurisdiction due to the diversity of citizenship among the parties, and denies for want of

17 information and belief that the amount in controversy is more than $75,000.

18        6.     Answering paragraph 9 thereof, admits the allegations contained in said
19 paragraph.

20                              FACTUAL ALLEGATIONS
21        7.     Answering paragraph 10 thereof, admits the date of marriage but denies
22 that the parties separated on June 1, 2005.

23        8.     Answering paragraph 11, denies that Asanti and Heumann purchased just
24 two properties together and allege that they purchased eight properties together, but had

25 just two remaining properties at the time of their dissolution.

26        9.     Answering paragraphs 12 and 13 thereof, admits the allegations contained
27 in said paragraphs.

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                                                 2
                                ANSWER TO COMPLAINT AND COUNTERCLAIM
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 1        10.   Answering paragraph 14 thereof, denies the allegation s contained in said
 2 paragraph.

 3        11.   Answering paragraphs 15, 16 and 17 thereof, denies each and every
 4 allegation contained in said paragraphs.

 5        12.   Answering paragraph 18 thereof, denies the allegations contained in said
 6 paragraph.

 7        13.   Answering paragraph 19 thereof, denies each and every allegation
 8 contained in said paragraph.

 9        14.   Answering paragraph 20 thereof, denies for want of information and belief
10 each and every allegation contained in said paragraph.

11        15.   Answering paragraph 21 thereof, denies each and every allegation
12 contained in said paragraph.

13        16.   Answering paragraph 22 thereof, denies for want of information and belief
14 each and every allegation contained in said paragraph.

15        17.   Answering paragraph 23 thereof, denies each and every allegation
16 contained in said paragraph.

17        18.   Answering paragraph 24 thereof, denies for want of information and belief
18 each and every allegation contained in said paragraph.

19        19.   Answering paragraph 25 thereof, denies each and every allegation
20 contained in said paragraph.

21        20.   Answering paragraph 26 thereof, denies for want of information and belief
22 each and every allegation contained in said paragraph.

23        21.   Answering paragraph 27 thereof, denies each and every allegation
24 contained in said paragraph.

25        22.   Answering paragraph 28 thereof, denies for want of information and belief
26 each and every allegation contained in said paragraph.

27        23.   Answering paragraph 29 thereof, denies each and every allegation
28 contained in said paragraph.

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                              ANSWER TO COMPLAINT AND COUNTERCLAIM
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 1         24.    Answering paragraph 30 thereof, denies for want of information and belief
 2 each and every allegation contained in said paragraph.

 3         25.    Answering paragraph 31 thereof, denies for want of information and belief
 4 each and every allegation contained in said paragraph.

 5                      RESPONSE TO FIRST CAUSE OF ACTION
 6                         (Adverse Possession of Foothill House)
 7         26.    Answering paragraph 32 thereof, this answering Defendant incorporates
 8 by reference her responses to paragraphs 1 through 33 of Plaintiff’s complaint as though

 9 set forth in full.

10         27.    Answering paragraphs 33 and 34 thereof, denies each and every allegation
11 contained in said paragraphs.

12         28.    Answering paragraph 35 thereof, denies for want of information and belief
13 each and every allegation contained in said paragraph.

14         29.    Answering paragraph 36 thereof, denies each and every allegation
15 contained in said paragraph.
16                      RESPONSE TO SECOND CAUSE OF ACTION
17                              (Quiet Title to Foothill House)
18         30.    Answering paragraph 37 thereof, this answering Defendant incorporates
19 by reference its responses to paragraphs 1 through 36 of Plaintiff’s complaint as though

20 set forth in full.

21         31.    Answering paragraph 38 thereof, admits that Plaintiff DOUGLAS C.
22 HEUMANN and/or the HEUMANN TRUST is a co-owner of the Foothill House and

23 entitled to possession of the Foothill House and denies for want of information and

24 belief the remaining allegations of said paragraph.

25         32.    Answering paragraphs 39 and 40 thereof, denies each and every allegation
26 contained in said paragraphs.

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                                                 4
                                ANSWER TO COMPLAINT AND COUNTERCLAIM
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 1                      RESPONSE TO THIRD CAUSE OF ACTION
 2                         (Adverse Possession of Foxtrail House)
 3         33.    Answering paragraph 41 thereof, this answering Defendant incorporates
 4 by reference its responses to paragraphs 1 through 40 of Plaintiff’s complaint as though

 5 set forth in full.

 6         34.    Answering paragraphs 42 and 43 thereof, denies each and every allegation
 7 contained in said paragraphs.

 8         35.    Answering paragraph 44 thereof, denies for want of information and belief
 9 each and every allegation contained in said paragraph.

10         36.    Answering paragraph 45 thereof, denies each and every allegation
11 contained in said paragraph.

12                      RESPONSE TO FOURTH CAUSE OF ACTION
13                                        (Quiet Title)
14         37.    Answering paragraph 46 thereof, this answering Defendant incorporates
15 by reference its responses to paragraphs 1 through 45 of Plaintiff’s complaint as though
16 set forth in full.

17         38.    Answering paragraph 47 thereof, admits that Plaintiff DOUGLAS C.
18 HEUMANN and/or the HEUMANN TRUST is a co-owner of the Foothill House and

19 entitled to possession of the Foothill House and denies for want of information and

20 belief the remaining allegations of said paragraph.

21         39.    Answering paragraph 48 and 49 thereof, denies each and every allegation
22 contained in said paragraphs.

23                      RESPONSE TO FIFTH CAUSE OF ACTION
24                                        (Accounting)
25         40.    Answering paragraph 50 thereof, this answering Defendant incorporates
26 by reference its responses to paragraphs 1 through 49 of Plaintiff’s complaint as though

27 set forth in full.

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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
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 1        41.    Answering paragraphs 51, 52 and 53 thereof, denies for want of
 2 information and belief each and every allegation contained in said paragraphs.

 3                           FIRST AFFIRMATIVE DEFENSE
 4                            (Failure to State Cause of Action)
 5        42.    The complaint and each cause of action alleged therein fails to allege facts
 6 sufficient to constitute a cause of action against this answering defendant.

 7                         SECOND AFFIRMATIVE DEFENSE
 8                                         (Estoppel)
 9        43.    This answering defendant alleges that the complaint, and each and every
10 cause of action contained therein are barred by reason of acts, omissions,

11 representations, and courses of conduct by Plaintiffs.

12                          THIRD AFFIRMATIVE DEFENSE
13                                          (Waiver)
14        44.    Plaintiffs have engaged in conduct and activities sufficient to constitute a
15 waiver of any breach, obligation and/or duty which Plaintiffs purport to allege was
16 committed or owed by any defendant including for any alleged breach of contract, or

17 any other conduct, if any, as set forth in the complaint.

18                         FOURTH AFFIRMATIVE DEFENSE
19                                          (Laches)
20        45.    Plaintiff's claims, and each of them, are barred because plaintiffs delayed
21 for an unreasonable period of time in asserting claims against defendant and these

22 delays have prejudiced defendant. Therefore, the complaint is barred by laches.

23                         FOURTH AFFIRMATIVE DEFENSE
24                                (Failure to Provide Notice)
25        46.    Plaintiffs HEUMANN and/or the HEUMANN TRUST are co-tenants in
26 the Foxhill House and the Foxtrail House. At no time did Plaintiffs provide notice to

27 defendant if their intent to incur expenses for improvements to the properties.

28 Therefore, defendant is not responsible for these expenses.

                                                 6
                                ANSWER TO COMPLAINT AND COUNTERCLAIM
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 1       WHEREFORE, Defendant prays for relief as follows:
 2       1.    Plaintiffs take nothing by way of this action;
 3       2.    Judgment and dismissal are entered in favor of Defendant;
 4       3.    Defendant be awarded attorney’s fees and costs of suit herein; and
 5       4.    Defendant be awarded any other relief that the court deems just and proper.
 6

 7 Dated: July 12, 2019                           GOODE, HEMME & BARGER, APC
 8
                                             By: /S/ Jerry D. Hemme
 9                                             Jerry D. Hemme, Esq.
10                                             Attorneys for Defendant
                                               TAMMIE LEE ASANTI fka TAMMIE
11                                             LEE HEUMANN
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                             ANSWER TO COMPLAINT AND COUNTERCLAIM
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 1                                    COUNTERCLAIM
 2        Defendant and Counter-claimant TAMMIE LEE ASANTI fka TAMMIE LEE
 3 HEUMANN, hereby states her Counterclaim as follows:

 4                             JURISDICTION AND VENUE
 5        1.     This Court has subject matter jurisdiction over the claims herein under 28
 6 U.S.C. 1367 because they are related to the claims in plaintiffs’ complaint in that they

 7 form part of the same case or controversy.

 8        2.     Venue is proper in this judicial district because this is a counterclaim to a
 9 complaint filed in this judicial district, and under 28 U.S.C. section 1391(a).

10                                         PARTIES
11        3.     Defendant and Counter-claimant TAMMIE LEE ASANTI fka TAMMIE
12 LEE HEUMANN (“Asanti”) is an individual, is a resident of the State of Idaho.

13        4.     Counter-defendant DOUGLAS C. HEUMANN (“Heumann”), is an
14 individual and a resident of the State of California.

15        5.     Counter-defendant DOUGLAS C. HEUMANN TRUSTEE OF THE
16 DOUGLAS C. HEUMANN REVOCABLE LIVING TRUST DATED 8/1/2007

17 (“Heumann Trust”), is a revocable trust organized under the laws of the State of

18 California.

19        6.     Counter-defendant NORMA ESCANDON HEUMANN is an individual
20 and a resident of the State of California.

21        7.     The true names and capacities of Counter-defendants, ROES 1-10,
22 inclusive, are unknown to Counter-complainant at this time, who therefore sues said

23 Counter-defendants by such fictitious names. Counter-complainant is informed and

24 believes, and thereon alleges, that each Counter-defendant named as a ROE claims an

25 interest in the Property. Counter-complainant will amend this counterclaim by inserting

26 true names in lieu of the fictitious names, together with apt and proper charging words,

27 when the true names and capacities are ascertained. All references in this counterclaim

28 to Counter-defendants shall be deemed to include ROE Counter-defendants.

                                                 8
                                ANSWER TO COMPLAINT AND COUNTERCLAIM
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 1                       GENERAL FACTUAL ALLEGATIONS
 2        8.     This action concerns two parcels of real property in San Diego County,
 3 California:

 4               a) 3987 Foothill Ave., Carlsbad, CA 92010 (the “Foothill Property”),
                    more particularly described as:
 5

 6               LOT 188 OF CARLSBAD TRACT 83-19, CALAVERA HILLS
                 VILLAGE T, IN THE CITY OF CARLSBAD, COUNTY OF SAN
 7               DIEGO, STATE OF CALIFORNIA, ACCORDING TO MAP
 8               THEREOF NO. 12951, FILED IN THE OFFICE OF THE
                 COUNTY RECORDER OF SAN DIEGO COUNTY, JULY 16,
 9               1992, AS CORRECTED BY CERTIFICATE OF CORRECTION
10               RECORDED AUGUST 12, 1998 AS INSTRUMENT NO. 98-
                 509900 OF OFFICIAL RECORDS.
11

12
                 APN: 168-291-13-00

13               b) 362 Foxtrail Dr., El Centro, CA 92243 (the “Foxtrail Property”)
                    more particularly described as:
14

15
                 LOT 31, COUNTRYSIDE ESTATES SUBDIVISION UNIT NO.
                 3, IN THE CITY OF EL CENTRO, COUNTY OF IMPERIAL,
16               STATE OF CALIFORNIA, ACCORDING TO MAP ON FILE IN
17
                 BOOK 21, PAGE 40 OF FINAL MAPS ON FILE IN THE OFFICE
                 OF THE COUNTY RECORDER OF IMPERIAL COUNTY.
18
                 APN: 054-522-014-00
19

20                              The Foothill Property

21        9.     On or about April 26, 2001, Asanti and Heumann purchased the Foothill
22 Property, taking title as husband and wife joint tenants pursuant to the Grant Deed

23 recorded on April 26, 2001, as Document No. 2001-0259077 in the Official Records of

24 San Diego County, California. A copy of the Grant Deed is attached hereto as Exhibit

25 1 and incorporated herein by reference.

26        10.    On or about June 17, 2002, the parties transferred the Foothill Property to
27 Heumann as his sole and separate property. However, on or about June 22, 2006, the

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                                                9
                               ANSWER TO COMPLAINT AND COUNTERCLAIM
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 1 parties recorded a Quitclaim Deed by which Heumann transferred the Foothill Property

 2 to Heumann and Asanti “husband and wife as community property with right of

 3 survivorship.” The Quitclaim Deed was recorded as Document No. 2005-0521935 in

 4 the Official Records of San Diego County, California. A copy of the Grant Deed is

 5 attached hereto as Exhibit 2 and incorporated herein by reference.

 6        11.   The parties jointly obtained a mortgage loan for such purchase, in the
 7 original amount of $548,000.00, secured by a Deed of Trust against the Property,

 8 recorded on March 8, 2006, as Document No. 2006-0159397 in the Official Records of

 9 San Diego County, California. A copy of the Deed of Trust is attached hereto as Exhibit

10 3 and incorporated herein by reference.

11        12.   On or about December 12, 2013, Douglas Heumann transferred his interest
12 in the Foothill Property to the “Douglas C. Heumann Revocable Living Trust dated

13 8/1/2007” via a Quitclaim Deed recorded on December 12, 2013, as Document No.

14 2013-0718230 in the Official Records of San Diego County, California. A copy of the

15 Quitclaim Deed is attached hereto as Exhibit 4 and incorporated herein by reference.
16        13.   As a result of recording the Quitclaim Deed attached as Exhibit 4, and the
17 parties divorce, the parties now co-own the property as tenants-in-common rather than

18 as “husband and wife as community property with right of survivorship.”

19        14.   From early 2006 to September 25, 2011, the Foothill Property was a rental
20 property. In late September 2011, Heumann and Counter-defendant Norma Heumann

21 moved into the Foothill Property. They are currently residing at and in possession of

22 the Foothill Property.

23                                 The Foxtrail Property
24        15.   On or about February 20, 2004, Asanti and Heumann purchased the
25 Foxtrail Property, taking title as joint tenants pursuant to the Grant Deed recorded on

26 February 20, 2004, as Document No. 2004-004996 in the Official Records of Imperial

27 County, California. A copy of the Grant Deed is attached hereto as Exhibit 5 and

28 incorporated herein by reference.

                                               10
                               ANSWER TO COMPLAINT AND COUNTERCLAIM
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 1        16.    The parties jointly obtained a mortgage loan for such purchase, in the
 2 original amount of $139,850.00, secured by a Deed of Trust against the Property,

 3 recorded on February 20, 2004, as Document No. 2004-004997 in the Official Records

 4 of Imperial County, California. A copy of the Deed of Trust is attached hereto as Exhibit

 5 6 and incorporated herein by reference.

 6         17. On or about December 12, 2013, Douglas Heumann transferred his interest
 7 in the Foxtrail Property to the “Douglas C. Heumann Revocable Living Trust dated

 8 8/1/2007” via a Quitclaim Deed recorded on December 11, 2013, as Document No.

 9 2013-027722 in the Official Records of Imperial County, California. A copy of the

10 Quitclaim Deed is attached hereto as Exhibit 7 and incorporated herein by reference.

11        18.    As a result of recording the Quitclaim Deed attached as Exhibit 7, the
12 parties now co-own the property as tenants-in-common rather than as joint tenants.

13        19.    Initially, Heumann resided in the Foxtrail Property. At some point in time,
14 Heumann vacated the property and rented it out. The Foxtrail Property is currently a

15 rental property.
16                             Heumann and Asanti Divorce
17        20.    On or about February 7, 2006, Asanti and Heumann’s marriage was
18 dissolved by a Judgment of Dissolution entered in the San Diego Superior Court case

19 known as In Re Marriage of Heumann Case No. 137857.

20        21.    Under the terms of the Judgment, Asanti and Heumann were to continue
21 to jointly own the Foothill Property and the Foxtrail Property subject to liens and

22 encumbrances. With respect to the Foxtrail Property, Heumann agreed to pay the

23 entirety of the mortgage.

24        22.    Recently, the parties have had irreconcilable differences over the sharing
25 of expenses for both the Foothill Property and Foxtrail Property. Further, as evidenced

26 by the Complaint, Heumann and Counter-defendant Norma Heumann deny Asanti’s

27 50% ownership in both properties claiming that they have adversely possessed her

28 interest despite having no legitimate bases to make such a claim. As a result of this

                                               11
                               ANSWER TO COMPLAINT AND COUNTERCLAIM
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 1 dispute, co-ownership between these properties is not feasible and they should be sold

 2 by order of the court.

 3                              FIRST CLAIM FOR RELIEF
 4                          (Partition by Sale - Foothill Property)
 5                               [Code Civ. Proc., § 872.230]
 6        23.    Counter-claimant hereby incorporates by reference each and every
 7 allegation contained in paragraphs 1 through 22 as if fully set forth herein.

 8        24.    Counter-claimant Asanti and the Heumann Trust are each 50% tenants-in-
 9 common co-owners of the Foothill Property.

10        25.    Partition is sought as to the fee simple estate in the real property.
11        26.    Asanti designates all persons unknown claiming any interests in the
12 Property as Defendants Roes 1-10 inclusive.

13        27.    There are no liens and/or encumbrances on the Property appearing of
14 record or otherwise known to Asanti or apparent from an inspection of the Property or

15 that Asanti reasonably believes will be materially affected by this action, other than the
16 liens alleged herein.

17        28.    Asanti seeks partition of the Property by sale. Partition by sale of the
18 Property is more equitable than division in kind because the Property is a single-family

19 dwelling which cannot be physically divided.

20        29.    This action is brought and partition is sought herein, for the common
21 benefit of the parties, to preserve and secure to each of them their respective interest

22 and rights in the Property, and Asanti has incurred, and will incur, costs of partition

23 herein, including reasonable attorney’s fees, for the common benefit of the parties

24 hereto, in an amount not yet ascertainable.

25                            SECOND CLAIM FOR RELIEF
26                             (Accounting- Foothill Property)
27         30. Counter-claimant hereby incorporates by reference each and every
28 allegation contained in paragraphs 1 through 22 as if fully set forth herein.

                                                12
                                ANSWER TO COMPLAINT AND COUNTERCLAIM
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 1        31.    As the only party with current knowledge of the financial affairs of, and
 2 condition of, the Foothill Property, Heumann is obligated to care for and protect in all

 3 particulars Counter-claimant’s financial interests in the Property, to provide periodic

 4 statements of accounts of all moneys and profits from the operation of the Property, and

 5 to pay over to Counter-claimant her appropriate share of all money received.

 6        32.    The parties disagree over the division of income and expenses from the
 7 Foothill Property. The amount of credits due to either party from the sale of the property

 8 is unknown to Asanti and cannot be ascertained without an accounting of the

 9 management, maintenance, and expenses of the Foothill Property, which accounting

10 Heumann has not provided.

11                             THIRD CLAIM FOR RELIEF
12                         (Partition by Sale - Foxtrail Property)
13                               [Code Civ. Proc., § 872.230]
14        33.    Counter-claimant hereby incorporates by reference each and every
15 allegation contained in paragraphs 1 through 22 as if fully alleged herein.
16        34.    Counter-claimant Asanti and the Heumann Trust are each 50% tenants-in-
17 common in the Foxtrail Property.

18        35.    Partition is sought as to the fee simple estate in the real property.
19        36.    Asanti designates all persons unknown claiming any interests in the
20 Property as Defendants Roes 1-10 inclusive.

21        37.    There are no liens and/or encumbrances on the Property appearing of
22 record or otherwise known to Asanti or apparent from an inspection of the Property or

23 that Asanti reasonably believes will be materially affected by this action, other than the

24 liens alleged herein.

25        38.    Asanti seeks partition of the Property by sale. Partition by sale of the
26 Property is more equitable than division in kind because the Property is a single-family

27 dwelling which cannot be physically divided.

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                                                13
                                ANSWER TO COMPLAINT AND COUNTERCLAIM
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 1        39.    This action is brought and partition is sought herein, for the common
 2 benefit of the parties, to preserve and secure to each of them their respective interest

 3 and rights in the Property, and Asanti has incurred, and will incur, costs of partition

 4 herein, including reasonable attorney’s fees, for the common benefit of the parties

 5 hereto, in an amount not yet ascertainable.

 6                            FOURTH CLAIM FOR RELIEF
 7                             (Accounting- Foxtrail Property)
 8        40.    Counter-claimant hereby incorporates by reference each and every
 9 allegation contained in paragraphs 1 through 22 as if fully set forth herein.

10        41.    As the only party with current knowledge of the financial affairs of, and
11 condition of, the Foothill Property, Heumann is obligated to care for and protect in all

12 particulars Counter-claimant’s financial interests in the Property, to provide periodic

13 statements of accounts of all moneys and profits from the operation of the Property, and

14 to pay over to Counter-claimant her appropriate share of all money received.

15        42.    The parties disagree over the division of income and expenses from the
16 Foothill Property. The amount of credits due to either party from the sale of the property

17 is unknown to Asanti and cannot be ascertained without a complete accounting of the

18 management, maintenance, and expenses of the Foothill Property, which accounting

19 Heumann has not provided.

20        WHEREFORE, Counter-claimant prays judgment against Counter-defendants
21 as follows:

22        1)     For a determination by the court that Counter-Plaintiff and Counter
23 Defendant Heumann Trust are 50% tenants-in-common co-owners of the Foothill

24 Property and Foxtrail Property.

25        2)     For a determination that the Counter-defendants Heumann and Norma
26 Neumann be forever barred from asserting or claiming any title or interest in the

27 Property, real or potential, choate or inchoate, which they may now have, except as

28 admitted herein;

                                                14
                                ANSWER TO COMPLAINT AND COUNTERCLAIM
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 1        3)     For partition by sale of the present interests in the Property according to
 2 the respective rights of the parties hereto;

 3        4)     For an accounting between Counter-claimant and Counter-defendants;
 4        5)     For prejudgment interest on the above sums to the extent allowed by law;
 5        6)     For costs pursuant to Code of Civ. Proc., §§ 874.010 and 874.040; and
 6        7)     For such other and further relief as the court may deem proper.
 7

 8 Dated: July 12, 2019                                GOODE, HEMME & BARGER, APC
 9
                                                  By: /S/ Jerry D. Hemme
10                                                  Jerry D. Hemme, Esq.
11                                                  Attorneys for Defendant/Counter-
                                                    claimant TAMMIE LEE ASANTI fka
12                                                  TAMMIE LEE HEUMANN
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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
